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October 30, 2020

Honorable Nancy Joseph, Magistrate Judge
United States Federal Court (E.D., Wis.)
517 E. Wisconsin Ave.,
Milwaukee, WI 53202

       Re:     Dragonwood Conservancy, Inc., et. al., v. Felician, et. al.
               Case No. 16-CV-534
               • Plaintiffs’ Pretrial Report – Missing MPD Officer Kenneth Daugherty

Dear Magistrate Joseph:

        After I filed Plaintiffs’ Pretrial Report [EDoc#139], it came to my attention that MPD
Officer Kenneth Daugherty was not specifically listed thereupon. Officer Daugherty was the
officer who shot the two dogs during the execution of the search warrants, underlying this case.

        I promptly brought this to the attention of opposing counsel earlier this week, asking for
their position (if any), regarding this oversight. As of this writing I have not heard back
(knowing that Defendants seek to exclude evidence relating to the “dog shooting”, by their
motion in limine) [EDoc#133].

        I originally identified Officer Daugherty in Plaintiffs’ Initial r26 Disclosure [EDoc 10 at
p4]; and then specifically listed him as witness in Plaintiffs’ Witness List, filed in September of
2019 [EDoc 74-1 at p2]. Officer Daugherty also gave deposition testimony in a prior, related
case in this district, which should have been identified as a potential exhibit/transcript (i.e., in
Jane Flint v City Of Milwaukee, ED Wis., 2014 CV 333).

         As I am unsure how the Court would like me to handle this, I will stand down until I can
seek guidance at the final pretrial conference herein (November 9, 2020, at 9am).
I sincerely apologize for any inconvenience.

       Very Truly Yours,
       /s/ Mark P. Murphy
       Attorney Mark P. Murphy
       Plaintiffs’ Attorney




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